Exhibit G
Trials@uspto.gov                                                 Paper 8
571-272-7822                                 Entered: September 23, 2019


       UNITED STATES PATENT AND TRADEMARK OFFICE
                       _____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

                   MICROSOFT CORPORATION,
                          Petitioner,

                                   v.

                        KEWAZINGA CORP.,
                           Patent Owner.
                          ____________

                         Case IPR2019-00872
                         Patent 9,055,234 B2
                           ____________

Before PATRICK M. BOUCHER, MATTHEW S. MEYERS, and
STACY B. MARGOLIES, Administrative Patent Judges.

MEYERS, Administrative Patent Judge.




                              DECISION
               Denying Institution of Inter Partes Review
                            35 U.S.C. § 314
IPR2019-00872
Patent 9,055,234 B2

                           I.        INTRODUCTION
                                A.     Background
      Microsoft Corporation (“Petitioner”) filed a Petition to institute an
inter partes review of claims 1–30 of U.S. Patent No. 9,055,234 B2
(Ex. 1001, “the ’234 patent”). Paper 1 (“Pet.”). Kewazinga Corp. (“Patent
Owner”) filed a Preliminary Response. Paper 7 (“Prelim. Resp.”). We have
authority under 35 U.S.C. § 314, which provides that an inter partes review
may not be instituted unless the information presented in the Petition shows
“there is a reasonable likelihood that the petitioner would prevail with
respect to at least 1 of the claims challenged in the petition.” 35 U.S.C.
§ 314(a); see also 37 C.F.R. § 42.4(a). Upon consideration of the Petition
and Preliminary Response, it is our determination that the information
presented does not show a reasonable likelihood that Petitioner would
prevail with respect to any claim challenged in the Petition. See 35 U.S.C.
§ 314(a).
                          B.        Related Proceedings
      Petitioner identifies itself as the real party in interest for this
proceeding. Pet. 8. Patent Owner identifies itself as the real party in interest
for this proceeding. Paper 5, 1. Petitioner and Patent Owner state that the
’234 patent is involved in Kewazinga Corp. v. Microsoft Corp., No. 1:18-cv-
04500-GHW (S.D.N.Y.), filed on May 21, 2018. Pet. 8; Paper 5, 1.

                               C.     The ’234 Patent
      The ’234 patent relates generally to a telepresence method and system
that “permits one or more users to navigate through imagery of an
environment.” Ex. 1001, 3:9–11. The ’234 patent discloses that, to provide
this functionality, the “system receives electronic imagery of progressively


                                          2
IPR2019-00872
Patent 9,055,234 B2

different perspectives of the environment having overlapping fields of view
and generates electronic mosaic imagery from the electronic imagery of the
environment.” Id. at 3:18–22, 3:30–32, 4:45–51. The ’234 patent further
discloses performing “image output mixing, such as mosaicing and
tweening” to enable “seamless motion throughout the environment.” Id. at
4:54–56. As discussed further below, “mosaicing” refers to a process in
which a mosaic is generated from a plurality of images, and “tweening”
enables the structure of a view to be processed from two or more camera
outputs of the view. Id. at 17:31–36, 17:64–18:4. The ’234 patent describes
these image output mixing techniques in part through reference to
documents that are incorporated by reference and which we also discuss
further below. Id. at 17:31–36, 17:64–18:4.
      The ’234 patent discloses (referencing Figure 1) that “telepresence
system 100 generally includes an array 10 of cameras 14 coupled to a server
18, which in turn is coupled to one or more users 22 each having a user
interfaced/display device 24.” Ex. 1001, 4:67–5:3. The ’234 patent also
discloses that “[t]he output from the microcameras 14 are coupled to the
server 18” and that “coupled to the server 18 is an electronic storage device
20.” Id. at 5:35–37, 5:48–49. The ’234 patent adds that “[t]he server 18
transfers the outputs to the electronic storage device 20.” Id. at 5:49–50; see
also id. at 22:12–25 (describing Figure 10).
      In one embodiment, the ’234 patent discloses that “user inputs allow
each user 22 to move or navigate independently through the array 10.” Id. at
6:32–34. More particularly, the ’234 patent discloses that “[t]he user inputs
allow each user to not only select particular cameras, but also to select
relative movement or navigational paths through the array 10.” Id. at 6:39–


                                       3
IPR2019-00872
Patent 9,055,234 B2

42. In another embodiment, the ’234 patent discloses that “[n]avigation is
effectuated by accessing the input of the storage nodes by a user interface
device 24.” Id. at 24:12–13; see also id. at 23:50–53. The ’234 patent
further discloses the following:
      [I]t is to be understood that virtually any configuration of rails 12
      and cameras 14 is within the scope of the present invention. For
      example, the array 10 may be a linear array of cameras 14, a 2-
      dimensional array of cameras 14, a 3-dimensional array of
      cameras 14, or any combination thereof. Furthermore, the array
      10 need not be comprised solely of linear segments, but rather
      may include curvilinear sections.
             The array 10 is supported by any of a number of support
      means. For example, the array 10 can be fixedly mounted to a
      wall or ceiling; the array 10 can be secured to a moveable frame
      that can be wheeled into position in the environment or supported
      from cables.
Id. at 7:43–56; see also id. at 24:46–49 (disclosing that camera arrays 12
“may be other shapes other than cylindrical” and that “it is not essential . . .
that the camera arrays 12 surround the entire environment”).

                            D.     Illustrative Claim
      Petitioner challenges claims 1–30 of the ’234 patent, of which claims
1 and 13 are independent. Claim 1 is illustrative and is reproduced below:
      1. A system for providing at least a first user with a first view of
      multiple locations through a remote environment and a second
      user with a second view of multiple locations through the
      environment, the first view being different than the second view,
      the system comprising:
             one or more electronic storage devices;
             one or more processing elements configured to:
             receive, from a first user interface device associated with
      the first user, first user inputs associated with the first view
      through the environment;



                                        4
IPR2019-00872
Patent 9,055,234 B2

             receive, from a second user interface device associated
      with the second user, second user inputs associated with the
      second view through the environment;
             store electronic imagery of progressively different
      perspectives of the environment having overlapping fields of
      view in the one or more electronic storage devices;
             generate mosaic imagery from the electronic imagery of
      the environment;
             based on the first user inputs, sequentially provide to the
      first user interface device mosaic imagery along the first view,
      thereby allowing the first user to navigate along the first view of
      the environment;
             based on the second user inputs, sequentially provide to
      the second user interface device mosaic imagery along the
      second view, thereby allowing the first user and second user to
      navigate simultaneously and independently along the first view
      and second view of the environment, respectively.
                 E.    Asserted Grounds of Unpatentability
      Petitioner challenges claims 1–30 on the following ground:
    Claims Challenged         Statutory Basis             Reference
            1–30                   § 103(a)            The ’325 Patent1

      To support its Petition, Petitioner proffers a Declaration of Dr. Robert
L. Stevenson. Ex. 1005. Patent Owner relies on a Declaration of Dr. Keith
Hanna to support its position. Ex. 2001.

                             II.    ANALYSIS
      In addition to arguing that Petitioner fails to show a reasonable
likelihood of prevailing on any of the challenged claims, Patent Owner
raises two other arguments that it asserts warrant denial. See Prelim. Resp.


1
 U.S. Patent No. 6,522,325 B1, issued February 18, 2003 (Ex. 1004, “the
’325 Patent”).

                                      5
IPR2019-00872
Patent 9,055,234 B2

9–11. First, Patent Owner argues that the current Petition “is an improper
attempt to challenge the ’234 patent under 35 U.S.C. § 112 in an IPR.” Id. at
9 (citing 35 U.S.C. § 311(b)). Second, Patent Owner argues that “[t]he
Board should deny institution pursuant to 35 U.S.C. § 325(d) because the
only reference relied on by Petitioner—the ’325 Patent—was considered by
the Examiner during prosecution of the ’234 patent.” Prelim. Resp. 10.
      For the reasons set forth below, we conclude that Petitioner has not
established a reasonable likelihood that it would prevail with respect to any
claim challenged in the Petition. Accordingly, we do not reach Patent
Owner’s other arguments.
                           A.    Claim Construction
      In this inter partes review, filed March 22, 2019,2 we construe the
claims of the ’234 patent by applying the same claim construction standard
that would be used in a civil action under 35 U.S.C. § 282(b), including
construing claims in accordance with the ordinary and customary meaning
of such claims, as understood by one of ordinary skill in the art and the
prosecution history pertaining to the patent. 37 C.F.R. § 42.100(b) (2018);
83 Fed. Reg. 51340 (Oct. 11, 2018). In applying such standard, claim terms
are given their plain and ordinary meaning, as would be understood by a
person of ordinary skill in the art, at the time of the invention and in the
context of the entire patent disclosure. Phillips v. AWH Corp., 415 F.3d
1303, 1313 (Fed. Cir. 2005) (en banc). Only those terms that are in
controversy need be construed, and only to the extent necessary to resolve


2
 Changes to the Claim Construction Standard for Interpreting Claims in
Trial Proceedings Before the Patent Trial and Appeal Board, 83 Fed. Reg.
51340 (Oct. 11, 2018) (now codified at 37 C.F.R. pt. 42 (2019)).

                                        6
IPR2019-00872
Patent 9,055,234 B2

the controversy. See, e.g., Nidec Motor Corp. v. Zhongshan Broad Ocean
Motor Co., 868 F.3d 1013, 1017 (Fed. Cir. 2017) (citing Vivid Techs., Inc. v.
Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999)).
      The parties do not specifically propose a construction for any claim
term. Pet. 16; Prelim. Resp. 8. Petitioner notes that the parties “have
submitted certain claim construction positions in the District Court
proceeding, which are attached as Exhibit 1007” (Pet. 16), but asserts that
“none of the agreed upon constructions of the ’234 patent, nor the disputed
constructions for the ’234 patent claims are at issue in this Petition.” Id.
Petitioner also asserts—without reference to any particular claim term—that
“the Board should construe the full scope of the claims as encompassing
user-navigable systems that provide multiple perspective views of an
environment, including both systems having an array of fixed-position
cameras as well as systems having cameras mounted to a mobile structure
that captures images while moving.” Id.
      We determine that no claim terms require express construction in
order to determine whether to institute review.

                   B.     Level of Ordinary Skill in the Art
      Petitioner does not propose a level of ordinary skill in the art in the
Petition. See generally Pet. However, regarding the level of ordinary skill
in the art, Petitioner’s declarant, Dr. Stevenson, proposes:
      a [person of ordinary skill in the art] to which these applications
      are directed would have had a bachelor’s degree in computer
      science, computer engineering or the equivalent, and 3–5 years
      of experience in the field of computer vision or image
      processing, or a post-graduate degree in computer science,
      computer engineering or the equivalent, and 1–2 years of



                                       7
IPR2019-00872
Patent 9,055,234 B2

       experience in the field of computer vision or image processing,
       or equivalent experience.
Ex. 1005 ¶ 30.
       In response, Patent Owner asserts that its declarant, Dr. Hanna,
“agrees that this was the level of ordinary skill in the art at the time the 1999
Application was filed.” Prelim. Resp. 9 (citing Ex. 2001 ¶ 22); see also
Ex. 2001 ¶ 22.
       For purposes of this Decision, we adopt Dr. Stevenson’s assessment
of the level of ordinary skill in the art.

                  C.     Whether the ’325 Patent is Prior Art
       The only art asserted by Petitioner in this proceeding is the ’325
patent, which is an ancestor of the subject ’234 patent through a chain of
purported continuation applications. See Ex. 1001, 1:7–24. Petitioner
asserts that, due to a break in the chain of priority, the ’325 patent
nevertheless qualifies as prior art to the ’234 patent.3 Pet. 21.
       The ’325 patent issued February 18, 2003, from U.S. Patent
Application 09/419,274, filed October 15, 1999 (“the 1999 Application”).
Ex. 1004, at codes (45), (21), (22).
       The ’234 patent issued June 9, 2015, from U.S. Patent Application
14/505,208, filed October 2, 2014. Ex. 1001, at codes (45), (21), (22). The
’234 patent claims priority as a continuation, to U.S. Application No.

3
  Petitioner asserts that “[t]he priority chain leading to the ’234 patent was
broken” (Pet. 21), and as such, “the Challenged Claims are not entitled to an
effective filing date any earlier than October 30, 2009, the filing date of the
2009 Application.” Id. at 21. However, Petitioner contends that “[t]his
Petition focuses on the 2006 Application, which disclosed an alleged
invention requiring a user-navigable array of fixed-position cameras.” Id. at
17.

                                         8
IPR2019-00872
Patent 9,055,234 B2

13/949,132, filed on July 23, 2013, which is a continuation of U.S.
Application No. 12/610,188, filed on October 30, 2009 (“the 2009
Application”), now abandoned. The 2009 Application is a continuation of
U.S. Application No. 11/359,233, filed on February 21, 2006 (“the 2006
Application”) (Exhibit 1003), now U.S. Patent No. 7,613, 999, which is a
continuation of U.S. Application No. 10/308,230, filed on December 2,
2002, now abandoned, which is a continuation of the 1999 Application, also
referred to as the ’325 patent. The ’325 patent is a continuation-in-part of
U.S. Application No. 09/283,413, filed on April 1, 1999, now U.S. Patent
No. 6,535,226, which claims priority to Provisional U.S. Application No.
60/080,413, filed on April 2, 1998. See id. at codes (63), (60), 1:7–23; cf.
Pet. 9, 12; Prelim. Resp. 5.
      Petitioner contends that claims 1–30 (the challenged claims) of the
’234 patent “are not entitled to an effective filing date any earlier than
October 30, 2009, the filing date of the 2009 Application” (Pet. 21 (citing
Ex. 1002, 91)) because “[t]he 2006 Application did not convey to a [person
of ordinary skill in the art] that the Applicants were in possession of the
much later, and much more broadly drafted Challenged Claims, as of the
filing of the 2006 Application.” Pet. 18. More particularly, Petitioner
argues that “[t]he 2006 Application narrowly discloses as its alleged
invention a distributed camera array for capturing images while stationary
for displaying multi-perspective views of the environment” and “disparages
prior art systems using cameras that were not placed in fixed-positions, but
instead, were mounted on moving vehicles during image capture.” Pet. 30
(citing Ex. 1005 ¶¶ 39–41, 50). For example, Petitioner contends that the
2006 Application describes and claims a system “limited to a user-navigable


                                        9
IPR2019-00872
Patent 9,055,234 B2

array of fixed-position cameras, each camera providing a view from a
different point (‘distributed camera array’).” Pet. 21; see also id. at 22–30.
To support its contention, Petitioner argues (1) “[t]he 2006 Application
[c]riticized [m]oving [c]ameras [p]rior [a]rt” (id. at 21–23 (emphasis
omitted)); (2) each embodiment identified in the 2006 Application is
described as including “the distributed camera array” (id. at 23–29); and
(3) each claim of the 2006 Application required “a distributed camera array
for performing image capture” (id. at 29–30). Petitioner also argues that the
distributed camera array is a critical, non-optional element of the invention.
Id. at 37–40.
      Petitioner further argues that because the challenged claims
“eradicated any reference to the distributed camera array,” Patent Owner
“effectively broadened the alleged invention to encompass not only the
distributed camera array system, but also systems that relied on moving
cameras for image capture.” Pet. 36 (citing Ex. 1005 ¶ 54). Thus, Petitioner
takes the position that “the 2006 Application lacks adequate written
description support for the Challenged Claims,” and as such, “the
Challenged Claims are not entitled to an effective filing date any earlier than
October 30, 2009, the filing date of the 2009 Application.” Pet. 21 (citing
Ex. 1002, 91).
      In response, Patent Owner asserts that “Petitioner does not argue that
the priority application fails to disclose any limitation actually recited in the
Challenged Claims.” Prelim. Resp. 1 (citing Pet. 45–74; Ex. 1005 ¶¶ 59–
83).4 Rather, according to Patent Owner, Petitioner asserts that the 2006


4
 Patent Owner notes that “although the Petition includes arguments directed
only to the 2006 Application, Patent Owner addresses those arguments with

                                       10
IPR2019-00872
Patent 9,055,234 B2

Application “supports only a particular embodiment having an ‘array of
fixed-position cameras’—a term concocted by Petitioner and not found in
the ‘234 Patent or the priority application—and, because the Challenged
Claims do not recite that limitation, they are not entitled to priority.” Prelim.
Resp. 2. Patent Owner argues that “the Challenged Claims are not required
to separately recite a limitation directed to every feature disclosed in the
priority application.” Id. (citing Golight, Inc. v. Wal-Mart Stores, Inc., 355
F.3d 1327, 1331 (Fed. Cir. 2004); ScriptPro LLC v. Innovation Assocs., Inc.,
833 F.3d 1336, 1342 (Fed. Cir. 2016)).
      To support its argument, Patent Owner argues that “the Challenged
Claims are directed to features unrelated to the array of cameras that provide
the advantages described in the 1999/2006 Applications.”5 Id. at 27; see
also id. at 24–29. Patent Owner argues the following:
      In general, the ’234 patent and the priority applications disclose
      telepresence systems that include features and benefits directed
      to each of capturing, storing, processing, and permitting users to
      navigate imagery, and according to Federal Circuit law,
      applicants were not required to claim every feature directed to all
      of these aspects, including any array of cameras. Importantly,
      the systems and methods of the Challenged Claims operate and
      provide significant benefits described in the priority application


reference to the “1999/2006 Applications . . . [b]ecause the 1999 Application
and 2006 Application have virtually identical specifications.” Prelim. Resp.
14. We thus understand Patent Owner’s references to “the priority
application” as referring to the 2006 Application in addressing Petitioner’s
arguments, while also emphasizing the further commonality of disclosure
with the 1999 Application.
5
  Although Patent Owner responds to Petitioner’s “arguments with reference
to the ‘1999/2006 Applications’ collectively” (Prelim. Resp. 14), the
“Petition focuses on the 2006 Application.” Pet. 17. Accordingly, our
analysis also focuses on the 2006 Application.

                                       11
IPR2019-00872
Patent 9,055,234 B2

      without an array of cameras. For example, the Challenged
      Claims are directed to features for smoothing user navigation
      (e.g., mosaicing imagery) and extending “content life” through
      the navigation of stored imagery—features Petitioner effectively
      admits are disclosed in the priority application.
Id. at 2–3. Patent Owner adds:
      The 1999/2006 Applications describe a need for a telepresence
      system “that provides the ability to better simulate a viewer’s
      actual presence in a venue.” Ex. 2002 at 12; Ex. 1003 at 13. One
      aspect of this described in the 1999/2006 Applications involves
      “effectuat[ing] seamless motion throughout the environment”
      which facilitates simulating a viewer’s actual presence in an
      environment and navigation through it. See Ex. 2002 at 17;
      Ex. 1003 at 18; Ex. 2001, ¶¶ 29–30. The 1999/2006 Applications
      teach that “image output mixing, such as mosaicing and
      tweening” can be used to help achieve this. Ex. 2002 at 17;
      Ex. 1003 at 18. In addition, the 1999/2006 Applications disclose
      other forms of mixing, which involve “compositing the existing
      or current output and the updated camera node output,”
      “dissolving the existing view into the new view,” providing
      outputs from “intermediate cameras,” and/or “add[ing] motion
      blur to convey the realistic sense of speed.” Ex. 2002 at 43–44;
      Ex. 1003 at 44–45. These forms of mixing can also be used to
      smooth navigation through an environment. Ex. 2001, ¶ 31
Prelim. Resp. 25–26. Patent Owner argues that the challenged claims
recite “these same features for smoothing a user’s navigation through
an environment resulting in a more realistic experience.” Id. at 26.
According to Patent Owner, “[b]oth independent claims of the ’234
patent recite limitations directed to mosaicing, which can be used to
smooth navigation.” Id. (citing Ex. 1001, claims 1 and 3).
     Patent Owner also argues that another advantage described in the 2006
Application “unrelated to any array of cameras, and reflected in the
Challenged Claims, is extending ‘content life.’” Id. at 26. More


                                     12
IPR2019-00872
Patent 9,055,234 B2

particularly, Patent Owner argues that the 2006 Application “disclose[s] the
electronic storage of imagery of an environment in ‘storage nodes’ to allow
users to independently navigate through stored imagery, with each viewing
being different.” Id. at 27 (citing Ex. 2002, 20–21; Ex. 1003, 21–22;
Ex. 2002, 65–66).
      After considering the parties’ positions on the record before us, we
determine that Petitioner has not shown sufficiently in support of its
unpatentability ground that the ’325 patent is prior art, i.e., that the 2006
Application fails to provide written-description support for the ’234 patent’s
claims (the challenged claims). Our reviewing court has stated that “[i]t is
certainly reasonable that different claims could be directed to covering
different aspects of the invention.” ScriptPro, 833 F.3d 1336, 1342; see also
Carl Zeiss Stiftung v. Renishaw PLC, 945 F.2d 1173, 1181 (Fed. Cir. 1991)
(“[I]t is not necessary that a claim recite each and every element needed for
the practical utilization of the claimed subject matter, as it is entirely
appropriate, and consistent with § 112, to present claims to only one aspect.”
(internal citation and quotation marks omitted)).
      First, on the current record, Petitioner does not show sufficiently that
the 2006 Application “criticize[s]” or “teaches away” from vehicle-mounted
mobile camera systems such that a user-navigable array of fixed-position
cameras is a necessary element of the invention that should have been
claimed. See Pet. 21–23 (citing Ex. 1003, 8, 10–11, 25), 31–32.
      In the “Description of Related Art,” the 2006 Application identifies
U.S. Patent No. 5,708,469 (“the ’469 patent”), which according to the 2006
Application, discloses that “a moving vehicle carries the cameras.” Ex.
1003, 10. The 2006 Application refers to “several drawbacks” of the system


                                        13
IPR2019-00872
Patent 9,055,234 B2

described in the ’469 patent, including that “in order for a viewer’s
perspective to move through the venue, the moving vehicle must be actuated
and controlled” and that, “[i]n this regard, operation of the system is
complicated.” Ex. 1003, 10–11. The 2006 Application thus criticized the
moving camera system for requiring viewer control of the camera system’s
movement for navigation through an environment. Id. Thus, we are not
persuaded that the 2006 Application excluded from the invention all systems
with moving cameras. Rather, we agree with Patent Owner, on the current
record, that the 2006 Application identified a more limited drawback of a
moving camera system that required complicated user operation.
      With respect to the “Detailed Description Of Preferred
Embodiments,” Petitioner asserts that the 2006 Application “emphasized the
advantages of the allegedly inventive array of fixed-position cameras over a
vehicle-mounted mobile camera structure.” Pet. 22–23. In particular,
Petitioner observes that the 2006 Application specifically asserts that,
because the array “employs a series of cameras 14, no individual camera, or
the entire array 10 for that matter, need be moved in order to obtain a
seamless view of the environment.” Id. (emphasis omitted) (quoting Ex.
1003, 25).
      Although we agree with Petitioner that the 2006 Application identifies
advantages related to the array, the 2006 Application discloses alternative
methods for obtaining a seamless view of the environment. See, e.g.,
Ex. 1003, 18 (disclosing “image output mixing, such as mosaicing and
tweening, effectuates seamless motion throughout the environment”); see
also id. at 47 (disclosing “the system may form the mosaic from a
predetermined number of outputs or during a predetermined time interval,


                                      14
IPR2019-00872
Patent 9,055,234 B2

and then display the images pursuant to the user’s navigation through the
environment”). And, as Patent Owner notes, “the [2006 Application]
expressly contemplates alternatives—using structures that include moving
cameras to capture images, not only an ‘array of fixed-position cameras.’”
Prelim. Resp. 41; see also Ex. 1003, 27 (disclosing “it is to be understood
that virtually any configuration of rails 12 and cameras 14 is within the
scope of the present invention”), 28 (disclosing “the array 10 can be secured
to a moveable frame that can be wheeled into-position in the environment or
supported from cables). Thus, we are not persuaded that the 2006
Application “criticize[s]” or “teaches away” from vehicle-mounted mobile
camera systems such that a user-navigable array of fixed-position cameras is
a necessary element of the invention that should have been claimed.
      Petitioner further contends that “[t]here is nothing about the 2006
Application that would have led a [person of ordinary skill in the art] to
understand that the Applicants were claiming they invented a telepresence
system that used vehicle-mounted mobile cameras instead of the fixed-
position distributed camera array.” Pet. 41 (citing Ex. 1005, ¶ 57).
However, as explained above, the 2006 Application expressly contemplates
using structures that include moving cameras to capture images, not only the
“fixed-position distributed camera array,” as Petitioner asserts. See Ex.
1003, 27, 28. In this regard, the 2006 Application discloses that that “the
array 10 can be fixedly mounted to a wall or ceiling” or “the array 10 can be
secured to a moveable frame that can be wheeled into-position in the
environment or supported from cables.” Ex. 1003, 28. Additionally, as
Patent Owner notes, the 2006 Application incorporates by reference U.S.
Patent No. 5,529,040 to Hanna (Exhibit 1009), which according to the 2006


                                      15
IPR2019-00872
Patent 9,055,234 B2

Application describes tweening in the context of a moving video camera.
See Prelim. Resp. 4 (citing Ex. 1009), 46–47; Ex. 1003, 47–48, 49 (noting
that “where the Hanna patent effectuates the tweening process by detecting
the motion of an image sensor (e.g., a video camera), an embodiment of the
present invention monitors the user movement along live cameras or storage
nodes”), 66.
      Petitioner also argues that “criticizing prior systems that relied on
cameras mounted to a moving vehicle is the antithesis of blaze marks that
would lead a [person of ordinary skill in the art] to conclude that the
Applicants were in possession of an invention that lacked the distributed
camera array that the 2006 Application makes clear was an integral part of
the invention.” Pet. 43. However, as discussed above, we agree with Patent
Owner that the 2006 Application does not criticize or disclaim “moving
camera systems, including vehicle-mounted cameras, in their entirety.”
Prelim. Resp. 49. Instead, the 2006 Application identifies a limited
drawback pertaining to moving camera systems requiring viewer control of
the camera system’s movement for navigation through an environment.” Id.
      Petitioner also does not show sufficiently on the current record that a
user-navigable array of fixed-position cameras is a “critical,” “non-optional”
feature of the invention that should have been claimed. See Pet. 37–41.
Here, we agree with Patent Owner that the use of “image output mixing,
such as mosaicing and tweening” does not necessarily require the use of an
array of cameras to obtain a seamless view of the environment. See Prelim.
Resp. 25 (citing Ex. 1003, 18). Although Petitioner characterizes camera
arrays as a “critical feature” of the 2006 Application (see Pet. 37–41), the
2006 Application discloses that “an embodiment of the present invention


                                      16
IPR2019-00872
Patent 9,055,234 B2

monitors the user movement among live cameras or storage nodes”
(Ex. 1003, 66) and “a user may navigate through the environment . . . by
accessing the input of the storage nodes by a user interface device.” Id. at
67. Thus, we are not persuaded by Petitioner’s argument. “Not every claim
must contain every limitation or achieve every disclosed purpose.”
ScriptPro, 833 F.3d 1342.
      Patent Owner asserts that “Petitioner has failed to demonstrate that the
Challenged Claims cannot claim priority to the 1999 or 2006 Applications”
because the challenged claims “address problems described in the 1999/2006
Applications.” Prelim. Resp. 32 (citing Ex. 2001 ¶¶ 28–37). Here, we agree
with Patent Owner that the challenged claims address a benefit described in
the 2006 Application—permitting users to navigate imagery. For example,
the 2006 Application discloses the benefit of “allow[ing] a user to move
forward and backward through the environment.” Ex. 2003, 14. The 2006
Application also discloses that “image output mixing, such as mosaicing and
tweening, effectuates seamless motion throughout the environment.”
Ex. 1003, 18. The 2006 Application further discloses, with respect to
“effectuat[ing] the tweening process,” that an “embodiment of the present
invention monitors the user movement among live cameras or storage
nodes.” Ex. 1003, 49.
      These features are captured in the challenged claims. Independent
claim 1 of the ’234 patent recites, inter alia, (1) “one or more electronic
storage devices” and (2) “one or more processing elements configured
to . . . store electronic imagery of progressively different perspectives of the
environment having overlapping fields of view in the one or more electronic
storage devices,” and configured to “generate mosaic imagery from the


                                       17
IPR2019-00872
Patent 9,055,234 B2

electronic imagery of the environment.” Ex. 1001, 25:7–24. Independent
claim 13 similarly recites “generating mosaic imagery from electronic
imagery of the environment having overlapping fields of view.” Id. at
26:57–27:2.
      Petitioner does not show on the current record that such features
require an array of fixed-position cameras. See Pet. 17 (arguing that the
2006 application “was explicit that a user-navigable array of fixed-position
cameras was an integral aspect of the alleged invention”), 21 (arguing that
the invention is “limited to a user-navigable array of fixed-position cameras,
each camera providing a view from a different point”). On the current
record, we agree with Patent Owner that the use of “image output mixing,
such as mosaicing and tweening” does not necessarily require the use of an
array of cameras. Prelim. Resp. 25–26. As discussed above, the 2006
Application describes other features in respective embodiments, namely
mosaicing and tweening. See Ex. 1003, 13; see also id. at 44–45 (discussing
“mixing the outputs”).
      With respect to “mosaicing,” the 2006 Application incorporates by
reference U.S. Patent No. 5,649,032 to Burt (“Burt,” Ex. 1008) for its
disclosure of a system and method for generating a mosaic from a plurality
of images. See Ex. 1003, 46. Patent Owner asserts (see Prelim. Resp. 28),
and our independent evaluation confirms, that Burt does not require a user-
navigable array of fixed-position cameras because Burt discloses that its
system receives “a series of images from a sensor 1200 such as a video
camera.” Ex. 1008, 20:34–35. And, as discussed above, with respect to
“tweening,” the 2006 Application incorporates by reference the Hanna
patent (Ex. 1009) for its disclosure of a method for determining sensor


                                      18
IPR2019-00872
Patent 9,055,234 B2

motion and scene structure and image processing system. See Ex. 1003, 47–
48. Patent Owner asserts (Prelim. Resp. 28, 52–53), and our independent
evaluation confirms, that Hanna also does not require a user-navigable array
of fixed-position cameras. See generally, Ex. 1009. Instead, Hanna
discloses that its system operates using “an image sensor 302, such as a
video camera, whose output is a sequence of images of a scene at a given
resolution.” Id. at 11:65–68.
      Upon review of the 2006 Application’s disclosure, we are not
persuaded that the Petition shows that the limitations of claims 1–30 of the
’234 patent lack written description support in the 2006 Application.
See Pet. 44–74 (mapping claims 1–30 to the ’325 patent); see also Ex. 1005
¶¶ 59–83. Accordingly, Petitioner has not shown sufficiently in support of
its unpatentability ground that the ’325 patent is prior art.

               D.     Petitioner’s Asserted Ground of Unpatentability
      Petitioner has not persuaded us that the ’325 patent qualifies as prior
art such that it could be used in a ground raised under 35 U.S.C. § 102 or
§ 103 in an inter partes review of the ’234 patent. See 35 U.S.C. § 311(b).
Consequently, Petitioner has not shown a reasonable likelihood of prevailing
on its proposed ground of unpatentability based on the ’325 Patent.

                             III.   CONCLUSION
      Based on the arguments in the Petition and the Preliminary Response,
and the evidence of record, we are not persuaded that the ’325 patent is prior
art to the ’234 patent. Therefore, we determine that Petitioner has not
demonstrated a reasonable likelihood that at least one of the challenged
claims of the ’234 patent is unpatentable based on the asserted ground.



                                       19
IPR2019-00872
Patent 9,055,234 B2

                               IV.    ORDER
      For the reasons above, it is
      ORDERED that, pursuant to 35 U.S.C. § 314(a), the Petition is
denied, and no inter partes review is instituted for claims 1–30 of U.S.
Patent No. 9,055,234 B2.




                                      20
IPR2019-00872
Patent 9,055,234 B2

PETITIONER:
Todd Siegel
James DeRouin
KLARQUIST SPARKMAN, LLP
Todd.siegl@klarquist.com
james.derouin@klarquist.com

PATENT OWNER:
Ian G. DiBernardo
Kenneth L. Stein
STROOCK & STROOCK & LAVAN LLP
idibernardo@stroock.com
kstein@stroock.com




                              21
